Case 2:21-cv-02734-JDC-KK Document 14 Filed 05/12/22 Page 1 of 2 PageID #: 100




                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION

WALLACE MYERS           *   CIVIL ACTION NO. 2:21-cv-02734
                        *
                        *
VERSUS                  *   JUDGE JAMES D. CAIN, JR.
                        *
ALLIED TRUST INSURANCE  *
COMPANY                 *   MAGISTRATE JUDGE KATHLEEN KAY
                        *
****************************************************

                     MOTION TO CONFIRM APPRAISAL AWARD

       NOW INTO COURT, through undersigned counsel, comes Allied Trust Insurance

Company (hereinafter “Allied Trust”), who respectfully moves this Honorable Court to confirm

the Appraisal Award agreed to by the appraiser on behalf of Allied Trust and the appraiser on

behalf of Plaintiff on the grounds that the Appraisal Award is the amount of damages suffered by

Plaintiff, Wallace Myers, against Defendant in the instant matter, for reasons as more fully set

forth in the attached Memorandum in Support.

       WHEREFORE, Defendant prays that this Honorable Court set the amount of damages in

this matter pursuant to the properly executed Appraisal Award; and

       FURTHER, Defendant prays for all general and equitable relief.
Case 2:21-cv-02734-JDC-KK Document 14 Filed 05/12/22 Page 2 of 2 PageID #: 101




                                                Respectfully submitted,

                                                (s) Peyton L. Stein
                                                MATTHEW D. MONSON (25186)
                                                KEVIN P. RICHE (31939)
                                                RACHEL L. FLARITY (33131)
                                                JOHN D. MINEO, IV (36587)
                                                PEYTON L. STEIN (39400)
                                                THE MONSON LAW FIRM, LLC
                                                900 W. Causeway Approach, Suite A
                                                Mandeville, Louisiana 70471
                                                Telephone:     (985) 778-0678
                                                Facsimile:     (985) 778-0682
                                                Email: peyton@monsonfirm.com
                                                Counsel for Allied Trust Insurance Company


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all

counsel of record via electronic mail, by the United States District Court for the Western District

of Louisiana, this the 12th day of May, 2022.

                                                (s) Peyton L. Stein




                                                 -2-
